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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                      SAN ANTONIO DIVISION

 LA UNIÓN DEL PUEBLO ENTERO, et al.,

                            Plaintiffs,

 v.                                                       Case No. 5:21-CV-0844XR

 GREGORY W. ABBOTT, et al.

                            Defendants.



                                          NOTICE OF JOINDER




         Plaintiffs Mi Familia Vota, Marla Lopez; Marlon Lopez; and Paul Ruiledge (collectively,

the Mi Familia Vota Plaintiffs), by and through the undersigned counsel hereby join in Plaintiffs

Houston Justice; Houston Area Urban League; Delta Sigma Theta Sorority, Inc.; The Arc of

Texas; and Jeffrey Lamar Clemmons (collectively, “Houston Justice Plaintiffs”) Opposition to

the Public Interest Legal Foundation’s Motion to Intervene (Dkt. 43). While the Motion was not

expressly directed to the Mi Familia Vota Plaintiffs’ action, in footnote 1 the Foundation

suggests that for “purposes of judicial economy” it did not provide a proposed response to the Mi

Familia Vota Plaintiffs’ complaint but “reserved the right to provide a response”. To the extent

that the Foundation seeks to intervene in the Mi Familia Vota Plaintiffs’ action, the Motion

should be denied based on the same arguments and for the same reasons articulated in the

Houston Justice Plaintiffs’ Opposition.



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 DATED: October 21, 2021


                                          Respectfully submitted,

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